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 5
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 6 United States of America

 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:12-CR-00168 AWI-BAM
11
                                       Plaintiff,        STIPULATION AND ORDER TO VACATE
12                                                       TRIAL DATE
                               v.
13
     SHIRLEY KAY DAVIDSON and
14   JAMES GIULIO DAVIDSON,
15                        Defendant.

16
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
17
     counsels, Grant B. Rabenn, counsel for the United States, and Carolyn D. Phillips, counsel for the
18
     defendant Shirley Kay Davidson, and James R. Homola, counsel for the defendant James Giulio
19
     Davidson, that the trial in the above-captioned matter now set for June 17, 2014 shall be vacated.
20
            FURTHER, IT IS HEREBY STIPULATED that the trial confirmation hearing presently
21
     scheduled for June 2, 2014 will be vacated.
22
            FURTHER, IT IS HEREBY STIPULATED that the parties agree to appear for a status
23 conference on July 21, 2014 at 10:00 a.m.

24          FURTHER, IT IS HEREBY STIPULATED by the above parties that time shall be excluded
25 through the new status conference date of July 21, 2014 based on the need for defense counsel to consult

26 with the defendants, review current charges, conduct investigation, review discovery and otherwise

27 prepare for trial. Accordingly, the above parties stipulate that the ends of justice served by continuing

28
      Stipulation and Order to Vacate Trial Date         1
           Case 1:12-cr-00168-DAD-BAM Document 63 Filed 05/06/14 Page 2 of 2



 1 the case as requested outweigh the interest of the public and the defendants in a trial within the original

 2 date prescribed by the Speedy Trial Act, Title 18, United States Code, Section 3161, et. seq.

 3 Dated: May 1, 2014                                         BENJAMIN B. WAGNER
                                                              United States Attorney
 4

 5                                                            /s/ Grant B. Rabenn
                                                              GRANT B. RABENN
 6                                                            Assistant United States Attorney
 7                                                            /s/ Carolyn D. Phillips
 8                                                            CAROLYN D. PHILLIPS
                                                              Attorney for Defendant Shirley Davidson
 9
                                                              /s/ James R. Homola________________________
10                                                            JAMES R. HOMOLA
                                                              Attorney for Defendant James Davidson
11
                                                      ORDER
12
            IT IS HEREBY ORDERED that the trial in the above-captioned matter now set for June 17,
13
     2014 shall be vacated.
14
            IT IS FURTHER ORDERED that the parties shall appear for a status conference on July 21,
15
     2014 at 10:00 a.m.
16
            IT IS FURTHER ORDERED that time shall be excluded through the new status conference
17
     date of July 21, 2014 based on the need for defense counsel to consult with the defendants, review
18
     current charges, conduct investigation, review discovery and otherwise prepare for trial, the Court
19
     finding that the ends of justice served by continuing the case as requested outweigh the interest of the
20
     public and the defendants in a trial within the original date prescribed by the Speedy Trial Act, Title 18,
21
     United States Code, Section 3161, et. seq.
22

23 IT IS SO ORDERED.

24
     Dated: May 6, 2014
25                                                 SENIOR DISTRICT JUDGE

26

27

28
      Stipulation and Order to Vacate Trial Date          2
